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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. Joseph A. Dickson
Vv. : Mag. No. 19-6672
SHAHID AKHTAR, : CRIMINAL COMPLAINT

TASSADIQ HUSSAIN, a/k/a
“TABASUM MALIK,”

ASIF ALI, and

MOHAMMAD MUSHTAQ

I, Brendan E. Nally, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that I am a Postal Inspector with the United States Postal
Inspection Service, and that this complaint is based on the following facts:

SEE ATTACHMENT B

continued on the attached pages and made a part hereof.

Pols LD)

Brendan E. Nally, Possat inspector
U.S. Postal Inspection Service

Sworn to before me, and
Subscribed in my presence

May 29, 2019 at
Newark, New Jersey

HONORABLE JOSEPH A. DICKSON
UNITED STATES MAGISTRATE JUDGE Signature of Judicial Officer

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ATTACHMENT A

From at least as early as in or about September 2017 through in or about
May 2019, in the District of New Jersey, and elsewhere, defendants

SHAHID AKHTAR,
TASSADIQ HUSSAIN, a/k/a “TABASUM MALIK,”
ASIF ALI, and
MOHAMMAD MUSHTAQ

did knowingly and intentionally conspire and agree with each other and others
to execute a scheme and artifice to defraud financial institutions, as defined in
Title 18, United States Code, Section 20, and to obtain money, funds, assets and
other property owned by, and under the custody and control of such financial
institutions, by means of materially false and fraudulent pretenses,
representations and promises, contrary to Title 18, United States Code, Section
1344.

In violation of Title 18, United States Code, Section 1349.
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ATTACHMENT B

I, Brendan E. Nally, am a Postal Inspector with the United States Postal
Inspection Service (“USPIS”). I am familiar with the facts set forth in this
Complaint based on my own investigation, conversations with other law
enforcement officers, and my review of reports, documents, and other evidence.
Because this Complaint is being submitted for the limited purpose of
establishing probable cause, I have not included each and every fact that I
know concerning this investigation. Unless specifically indicated, all
conversations and statements described herein are related in substance and in
part.

Overview of the Conspiracy

1. At all times relevant to this Complaint:

a. Defendants SHAHID AKHTAR, TASSADIQ HUSSAIN, a/k/a
“Tabasum Malik,” ASIF ALI, and MOHAMMAD MUSHTAQ, along with other
known and unknown uncharged co-conspirators (collectively, the “Co-
Conspirators”), engaged in a fraudulent scheme to use stolen and fraudulently
altered identities to obtain credit cards from financial institutions and then use
those credit cards to make purchases that they had no intention to repay,
leaving the financial institutions to bear the losses of the scheme.

b. Specifically, the Co-Conspirators used the personally
identifying information of actual people, including dates of birth, drivers license
numbers, and social security numbers, to create “synthetic identities,”
sometimes by pairing the name and social security number of actual person
with a fictitious birth date, and sometimes by pairing the person’s social
security number with a fictitious name and birth date. When creating the
synthetic identities, the Co-Conspirators often used the name and social
security number of a minor and altered the birth date to make the identity
appear to be that of an adult.

Cc. The Co-Conspirators then used the stolen and synthetic
identities to obtain lines of credit, primarily through opening credit card
accounts at financial institutions (the “Fraud Cards”). The Fraud Cards were
maintained in good standing with the financial institutions long enough to
establish the creditworthiness of the stolen and synthetic identities. The Co-
Conspirators then “busted out” the Fraud Cards by making large purchases
and never repaying the debts associated with those purchases.
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d. The Co-Conspirators also incorporated and registered in
various states numerous purported companies that did little or no legitimate
business (the “Sham Companies”). The Sham Companies typically reported
mailing addresses that were not brick-and-mortar business locations but were
in fact “virtual mailboxes” offered by a company (“Company A”) that provides
mail receiving and forwarding services, as well as virtual office space, for a fee.
The Co-Conspirators used these Sham Companies to make hundreds of
thousands of dollars’ worth of charges to the Fraud Cards, which were then
deposited in bank accounts that the Co-Conspirators opened in the Sham
Companies’ names. The Co-Conspirators then withdrew these funds in cash.

e. The Co-Conspirators routinely used “Drop Addresses” in New
Jersey, New York, and elsewhere as the purported mailing addresses for the
Fraud Cards and the Sham Companies. These Drop Addresses were typically
not residential locations, but rather mailboxes offered for lease for the receipt of
mail by a commercial package delivery company (“Company B”). In most cases,
the Co-Conspirators rented these mailboxes using fraudulent identification
documents created using stolen and altered identities. The Drop Addresses
were then maintained by the Co-Conspirators for the purpose of receiving mail
sent in connection with the Fraud Cards and the Sham Companies.

f. The following were “financial institutions,” as that term is
defined in Title 18, United States Code, Section 20: “Bank 1,” a financial
institution headquartered in Boston, Massachusetts; “Bank 2,” a financial
institution headquartered in McLean, Virginia; “Bank 3,” a financial institution
headquartered in Cherry Hill, New Jersey; “Bank 4,” a financial institution
headquartered in Salt Lake City, Utah; and “Bank 5,” a financial institution
headquartered in Charlotte, North Carolina.

Sham Companies

2. It was a part of the conspiracy that the following Sham Companies,
among others, were established, maintained, and used by the Co-Conspirators
in furtherance of their fraudulent scheme:

a. “Route 22 Service Corp.”: Records provided by Company A
show that an individual with the initials G.A. opened a
“Mailbox Plus” account for Route 22 Service Corp. with
Company A on or about October 4, 2017. According to
Company A’s website, a “Mailbox Plus” account includes a
“professional address” and “mail and package receipt” but

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does not include physical office space, absent additional
payment. Records provided by Bank 1 further show that
G.A. opened a bank account for Route 22 Service Corp. on or
about October 7, 2017. Records provided by the U.S.
Department of Homeland Security show that G.A. departed
the United States on a flight bound for Qatar on or about
October 9, 2017, and has not returned as of this date.

“EZ Building Supply”: Records provided by Company A
show that an individual with the initials M.A. opened a
mailbox account for “EZ Building Supply” on or about
January 15, 2019. An IP address associated with a location
that ASIF ALI has been surveilled entering and leaving on
multiple occasions has been used to open and access credit
card accounts in M.A.’s name. ASIF ALI also has been
surveilled accessing bank accounts in M.A.’s name at bank
branches in New Jersey.

“Jay Jewelers Inc.”: Public records show that an individual

with the initials W.Z. registered “Jay Jewelers, Inc.” with the
State of New Jersey on or about May 24, 2017, using a
mailing address associated with a facility operated by
Company A that has since closed.

Drop Addresses

3. It was a further part of the conspiracy that the following Drop
Addresses, among others, were established, maintained, and used by the Co-
Conspirators in furtherance of their fraudulent scheme:

a.

Number 216 at an address on Main Street in Flemington,
New Jersey, that is in fact the address of a commercial mail
receiving facility operated by Company B (the “Flemington
Drop Address”). Records provided by Company B show that
box 216 was rented in or about September 2017 in the name
of an individual with the initials A.S., using a purported
Pennsylvania drivers license in A.S.’s name as identification,
a photocopy of which was maintained on file. A records
check revealed that the drivers license number on the drivers
license in fact belongs to an individual with the initials N.P.
who resides in McMurray, Pennsylvania. The photograph on
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this purported drivers license matches the photograph of
TASSADIO HUSSAIN that is on file with the New York
Department of Motor Vehicles.

b. Numbers 137 and 253 at an address on Mantua Pike in
Mantua, New Jersey, that is in fact the address ofa
commercial mail receiving facility operated by Company B
(the “Mantua Drop Addresses”).

Cc. Number 158 at an address on Springdale Road in Cherry
Hill, New Jersey, that is in fact the address of a commercial
mail receiving facility operated by Company B (the “Cherry
Hill Drop Address”). Records provided by Company B show
that box 158 was rented using a fraudulent Illinois drivers
license bearing the photograph of TASSADIOQ HUSSAIN.

d. Number 245 at an address on Maple Avenue in Marlton, New
Jersey, that is in fact the address of a commercial mail
receiving facility operated by Company B (the “Marlton Drop
Address”). Records provided by Company B show that box
245 was rented using a fraudulent Illinois drivers license
bearing the photograph of TASSADIQ HUSSAIN.

e. Number 175 at an address on Eagle Rock Avenue in West
Orange, New Jersey, that is in fact the address ofa
commercial mail receiving facility operated by Company B
(the “West Orange Drop Address”). Records provided by
Company B show that box 175 was rented in the name of an
individual with the initials A.A, using a fraudulent
Pennsylvania drivers license in A.A.’s name and bearing the
photograph of TASSADIQ HUSSAIN.

Fraud Cards

4. It was a further part of the conspiracy that the Fraud Cards that
were opened and used fraudulently by the Co-Conspirators included, but are not
limited to, the Fraud Cards summarized below.
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A.S. Fraudulent Identity

5. As set forth above in Paragraph 3(a), the Co-Conspirators used the
identity of A.S. to rent the Flemington Drop Address in or about September
2017, using a fraudulent Pennsylvania drivers license bearing the drivers
license number of identity theft victim N.P. and the photograph of TASSADIO
HUSSAIN.

6. The Co-Conspirators then opened at least two Fraud Cards with
Bank 2 using the fraudulent A.S. identity. The social security number
provided by the Co-Conspirators in connection with the applications for these
accounts is in fact the social security number of a minor with the initials
T.A.A., with a date of birth in 2005, and the mailing address provided was the
Flemington Drop Address. The A.S. Fraud Cards were subsequently used to
make charges at the Route 22 Service Corp. Sham Company.

7. Between in or about December 2017 and in or about December
2018, the Route 22 Service Corp. account at Bank 1 received approximately
$253,783 in total deposits from credit card transactions, including those
conducted using the A.S. Fraud Cards. During that same period of time, the
majority of the account’s funds were withdrawn in cash in small dollar
transactions at bank branches in the areas of Linden, Woodbridge, and
Elizabeth, New Jersey. ASIF ALI conducted several of these transactions,
including withdrawals made on or about October 3, October 5, and October 19,
2018.

8. On or about July 12, 2018, TASSADIQ HUSSAIN made a payment
at a bank branch in Brooklyn, New York, on one of the A.S. Fraud Cards.

R.A. Fraudulent Identity

9. On or about December 28, 2018, SHAHID AKHTAR used a credit
card issued by Bank 3 in the name of an individual with the initials R.A. to
make a purchase in the amount of $351.81 at a home goods and clothing store
in Linden, New Jersey. R.A. is a real person who appears to be the victim of
identity theft; he or she is a minor, with a date of birth in 2009. His or her
date of birth was altered in applying for the Bank 3 account to make it appear
to be that of an adult, and the mailing address provided is in fact an address
for a commercial mail receiving facility operated by Company B in Mahwah,
New Jersey.
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10. The R.A. Fraud Card also was used on or about January 25, 2019,
to make a $700 charge at the EZ Building Supply Sham Company. On or
about May 1, 2019, ASIF ALI accessed a bank account for EZ Building Supply
at a branch of Bank of America in Carteret, New Jersey.

A.A. Fraudulent Identity

11. As set forth above in Paragraph 3(e), the Co-Conspirators used the
identity of A.A. to rent the West Orange Drop Address, using a fraudulent
Pennsylvania drivers license bearing a photograph of TASSADIQ HUSSAIN.

12. On or about July 18, 2018, the Co-Conspirators used an IP
address associated with an apartment complex in Linden, New Jersey, in which
SHAHID AKHTAR resides, to open an account at Bank 3 in using the A.A.
fraudulent identity. The social security number provided to Bank 3 in
connection with this account in fact belongs to a minor with the initials H.S.
and a date of birth in 2008. The mailing address provided was the West Orange
Drop Address.

13. On or about December 13, 2018, TASSADIOQ HUSSAIN visited the
Bank 3 branch in Roselle, New Jersey, and withdrew $760 from the account in
the name of A.A. Between on or about December 13, 2018, and on or about
January 9, 2019, Postal Inspectors observed TASSADIQ HUSSAIN making nine
additional withdrawals from this account at various locations in New Jersey
and Brooklyn, New York.

14. On or about September 26, 2018, the Co-Conspirators used the IP
address associated with the Linden Apartment complex to apply for a Bank 3
credit card account in the name of A.A., using the West Orange Drop Address
as a mailing address and the social security number of H.S.

15. On or about December 19, 2018, SHAHID AKHTAR used two
different credit cards issued by Bank 2 in the name of A.A., one with an
account number ending 1908 and the other ending 7554, at a Target store in
Milltown, New Jersey. SHAHID AKHTAR also used the card ending 7554 the
next day, on or about December 20, 2018, at a Target store in Edison, New
Jersey.

16. In total, investigators have identified at least four different credit
card accounts opened in the name of A.A.: two with Bank 2, one with Bank 3,
and one with Bank 4. The Bank 4 card was used to make the following
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charges at the Jay Jewelers, Inc. Sham Company: a charge of $1,800 on or
about November 8, 2018; a charge of $2,300 on or about November 12, 2018;
and a charge of $3,500 on or about November 19, 2018.

Mushtaq Fraud Cards

17. Onor about May 15, 2018, and again on or about July 11, 2018,
MOHAMMAD MUSHTAQ made payments on a credit card account issued by
Bank 1 in the name of an individual with the initials M.K. The social security
number and date of birth given for M.K. appear to be authentic. This card was
subsequently used on or about July 25, 2018, to make a $1,250 charge at the
Route 22 Service Corp. Sham Company.

18. Records provided by Bank 5 show the existence of three credit card
accounts issued in the name of an individual with the initials F.M., who is
MOHAMMAD MUSHTAQ’s spouse. The date of birth provided for F.M. in
connection with these accounts was altered by nine years and, according toa
records check with the Social Security Administration, the social security
number provided for F.M. is fictitious. Two of the three credit card accounts
have been used to make charges at the Route 22 Service Corp. Sham
Company.

19. On or about November 14, 2018, ASIF ALI deposited a $2,000
check drawn on an account held in the name of a synthetic identity into an
account at Bank 5 held in the name of an individual with the initials M.M. On
or about November 18, 19, and 29, 2018, MOHAMMAD MUSHTAQ withdrew
funds from the M.M. account.

Total Losses From the Scheme Calculated to Date

20. In total, the losses calculated to date from the Co-Conspirators’
scheme exceed $2.5 million.
